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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION

 ANTHONY and DIANA ITALIANO,

            Plaintiffs,

 v.                                                                                      2:24-cv-866-SPC-NPM

 FIRST COMMUNITY INSURANCE COMPANY,

            Defendant.

                                            SHOW CAUSE ORDER
            In this case, an in-person case management conference was held in the Fort

 Myers, Florida Federal Courthouse, Courtroom 5-C, on June 30, 2025, at 10:00 a.m.

 Plaintiffs’ counsel Dustin Hite1 failed to appear. By July 14, 2025, Hite must show

 cause why he should not be sanctioned for failure to appear at the conference or file

 a notice of compliance with this order certifying a $100 payment to the Southwest

 Florida Federal Bar Association. The Association will use these funds in its ongoing

 efforts to elevate the practice of law. If Hite chooses to make the payment, he must

 mail his check along with this order to:

                              Southwest Florida Federal Bar Association
                                            P.O. Box 264
                                     Fort Myers, Florida 33902

                                                                    ORDERED on June 30, 2025




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     Neither attorney of record for the plaintiffs appeared, and Hite is lead counsel.
